

Matter of Chun (2020 NY Slip Op 05568)





Matter of Chun


2020 NY Slip Op 05568


Decided on October 8, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 8, 2020

PM-131-20

[*1]In the Matter of Jennifer Boram Chun, an Attorney. (Attorney Registration No. 5572987.)

Calendar Date: October 5, 2020

Before: Clark, J.P., Mulvey, Devine, Pritzker and Reynolds Fitzgerald, JJ.


Jennifer Boram Chun, Emeryville, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jennifer Boram Chun was admitted to practice by this Court in 2018 and lists a business address in Oakland, California with the Office of Court Administration. Chun now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to this Court's discretion on Chun's application.
Upon reading Chun's affidavit sworn to May 13, 2020 and filed May 18, 2020, and upon reading the September 29, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Chun is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Clark, J.P., Mulvey, Devine, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Jennifer Boram Chun's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Jennifer Boram Chun's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jennifer Boram Chun is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Chun is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jennifer Boram Chun shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








